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"~ \"\‘ FoR THE NoRTHER DISTRICT oF TEXAS 2§@3 GCl' 23 FH 3-
FT. woRTH DIvISIoN :Mn ;., SBUW
FLAVIO AGUIRRE, v W v y ` MMMM
Individually § CIVIL ACTi()N NO.
§
Plaintiff, § 4:08-CV-479-A
v. §
§
JOSE AGUIRRE d/b/a - Aguirre’s Auto §
Sales and Service §
§

Defendant.

Plaintiff’s Motion for Summary Judgment

COMES NOW PLAINTIFF and files this Motion for Summary Judgment and in support thereof

would show the Court as follows:
Summag

This is a suit for damages arising from Defendants’ alleged failure to pay wages in accordance
with the Fair Labor Standards Act [29 U.S.C. §§ 206, 207 and 215 (a)(2)].

In accordance with the F ederal Rules of Civil Procedure and Local Rule 56.3 (b) of the United
States District Court for the Northern District of Texas, a concise statement of the elements of each claim
or defense as to which summary judgment is sought, and the legal and/or factual grounds on which
Defendant relies in support of this motion are set forth in the separately filed and duly served Brief in
Support of Motion for Summary Judgment ; with evidentiary materials duly filed and served on opposing
party as an Appendix to Motion for Partial Summary Judgment in accordance with Local Rule 56.6.

As set forth in the Brief in support of this motion, Defendant has offered evidence to conclusively
prove each necessary element of each of the claims asserted in this case. Speciflcally, he has offered

conclusive proof that Plaintiff was a covered employee under the FLSA, that he worked in excess of 40

Motion for Summary Judgment 1

 

 

Case 4:08-cv-OO479-A Document 13 Filed 10/23/08 Page 2 of 2 Page|D 51

hours per week and that he was not paid overtime. He therefore respectfully asks the Court to GRANT
this Motion for Summary Judgment and to render judgment in his favor forthwith and for such other and

further relief to which he may be entitled at law of in equity.

  
  

1 ctfully Submitted,

 

669 irport Freeway, Ste. 107
Hurst, Texas 76053
Telephone: 817-545-9700
Facsimile: 817-545-5071

Certificate of Service

I hereby certify that a true and correct copy of the foregoing instrument was served by certified
mail, return receipt requested on the Defendant this&\ day of October 2008.

aim

Joan kin

Motion for Summary Judgment

 

